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 Plaintiff APT-320, LLC

                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII

 ATOOI ALOHA, LLC, a Nevada              CIVIL NO. 16-00347 JMS RLP
 Limited Liability Company; CRAIG
 B. STANLEY, as Trustee for THE          FORECLOSURE DECREE; EXHIBIT
 EDMON KELLER AND CLEAVETTE MAE          "A"
 STANLEY FAMILY TRUST; CRAIG B.
 STANLEY, individually; MILLICENT
 ANDRADE, individually,

       Plaintiffs,

       vs.
 ABNER GAURINO; AURORA GAURINO;
 ABIGAIL GAURINO; INVESTORS
 FUNDING CORPORATION, as Trustee
 for an unrecorded Loan
 Participation Agreement dated
 June 30, 2014; APT-320, LLC, a
 Hawaii Limited Liability
 Company; CRISTETA C. OWAN, an
 individual; ROMMEL GUZMAN;
 FIDELITY NATIONAL TITLE & ESCROW
 OF HAWAII and DOES 1-100
 inclusive,
       Defendants.
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 APT-320, LLC, a Hawaii Limited )             (Caption Continued)
 Liability Company,               )
                                  )
       Third-Party Plaintiff,     )
                                  )
       vs.                        )
                                  )
 APARTMENT OWNERS OF DIAMOND HEAD )
 SANDS                            )
                                  )
       Third Party Defendant.     )
                                  )
 18\or-msj25.apt


                                FORECLOSURE DECREE

         On January 31, 2018, this court entered an order entitled
 Order re: Motions for Summary Judgment and Motion for Interlocutory

 Decree of Foreclosure, ECF No. 238, which order is incorporated
 herein by reference.

         IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
         1.        Defendant Abigail Gaurino ("Defendant Abigail") is the
 owner of that fee simple property located at 3721 Kanaina

 Street,#320, Honolulu, Hawaii, TMK: (1) 3-1-025-008 CPR No.

 0088 (the description of the property is set forth in Exhibit
 A attached hereto and is also attached as Exhibit A to the

 Mortgage, Security Agreement and Financing Statement dated July

 2, 2014 ("Mortgage"), which Mortgage was recorded on July 11,
 2014 in the Bureau of Conveyances of the State of Hawaii as

 Document No. A-53050265), and sometimes referred to as the
 "Property," which Property is the subject of this Foreclosure

 Decree.
         2.        The Mortgage in favor of Defendant Investors Funding
 Corporation ("Defendant IFC") i s a valid lien upon the premises

 described         therein,   and   is   superior   to   that   of   the interests

 in the Property that may be claimed by Plaintiffs Atooi Aloha LLC,
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  Craig B. Stanley, as Trustee for the Edmon Keller and
  Cleavette Mae Stanley Family Trust, Craig B. Stanley,

  individually, Millicent Andrade, individually, and Third Party
  Defendant Association of Apartment Owners of Diamond Head Sand

  ("Third Party Defendant AOAO").

        3.     Defendant   IFC   has   assigned   all   of    Defendant
  IFC's interest in the Note and Mortgage to Apt-320.                  The

  Assignment was recorded in the Bureau of Conveyances on April

  27, 2016.
        4.     The Mortgage shall be foreclosed upon, a

  commissioner appointed ("Commissioner"), and the Property

  shall be sold in a manner allowed by law.
        5.    Pursuant to the terms of the Note and the Mortgage,

  the following is due and owing: principal of $220,000,

  interest of $73,031.90 (calculated to August 31, 2017, and
  accruing at the rate of $110 for each day thereafter), property

  taxes of $4,713.23, plus further expenses, charges, and costs,

  and attorney's fees, as may be proper and allowed, through the
  closing of the sale authorized by        this   court      and   a

  deficiency    judgment   is    entered   against Defendant Abigail (if

  a deficiency judgment is necessary).
        6.     The Mortgage provides under Section I that the

  mortgagee may be the purchaser at any foreclosure sale.

        7.    The Commissioner shall hold all proceeds of sale of
  the Property and net rental receipts or other income

  generated from the Property subject to the directions of

  this court. After payment according to such directions, the
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  Commissioner shall file an accounting of his or her receipts

  and expenses.

         8.    The Commissioner appointed by this court in this
  matter is Thomas J. Wong, at 220 S. King St., Ste. 1600,

  Honolulu, HI     96813, (808) 521-1456.        The Commissioner shall

  hold   all   equitable   and   legal   title    to   the    Property,   and
  is authorized and directed to take possession of the Property, to

  rent the Property pending foreclosure, keep the Property in good

  working order for a tenant if so rented, and to sell the
  Property at a foreclosure sale to the highest bidder at public

  sale by auction (without an upset price), after notice of

  such sale first being given by Commissioner pursuant to Hawaii
  Revised Statutes ("H.R.S.") §667-20 and §667-20.1.              The notice

  shall give the date, time, and place of sale and an

  intelligible description of the Property, and shall disclose
  all of the terms of sale herein mentioned.

         9.    The Commissioner shall have authority to hold open

  houses at the Commissioner's discretion.             The Commissioner
  shall have further authority to continue the sale from time

  to time at the Commissioner's discretion.

         10.   The Commissioner is also authorized, at the
  Commissioner's discretion, to entertain offers on the Property

  for a private sale and to submit such offers to the court.                Any

  sale of the Property shall not be final until approved and
  confirmed by the court at a further hearing.               No bond shall be

  required of the Commissioner.
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        11.   The Commissioner shall be awarded a reasonable fee as

  the Commissioner to be subsequently determined by the court.
  In the event the Commissioner refuses, or becomes unable to

  act as the Commissioner, the court shall appoint another

  without further notice of hearing.
        12.   The Commissioner's fees and costs shall be deemed to

  be a first lien on the Property.

        13.   Excess proceeds, if any, after payment of prior
  liens, including the Commissioner’s fees and costs, and the APT

  320, LLC mortgage debt and its approved fees and costs of

  foreclosure, shall be deposited with the Clerk with
  distribution pending further order of this court.          The court

  reserves jurisdiction to determine the party or parties to whom

  any surplus shall be awarded herein.
        14.   Defendant Abigail, Plaintiffs Atooi Aloha LLC, Craig

  B. Stanley, as Trustee for the Edmon Keller and Cleavette Mae

  Stanley Family Trust, Craig B. Stanley, individually,
  Millicent Andrade, individually, and Third Party Defendant

  AOAO, and all persons claiming by, through or under them are

  hereby perpetually barred of and from any and all right, title,
  and interest in the Property or any part thereof. Furthermore,

  any parties' interest that arise from and after the date of the
  filing of the Notice of Pendency of Action on August 22, 2017 in

  this action by Defendant Apt-320, are hereby forever barred and

  foreclosed of and from any and all right, title and interest in
  and to the Property, provided that this paragraph shall not

  apply to or serve to invalidate the condominium property regime
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  common interest in the property as set forth in the governing

  documents of Third Party Defendant Association of Apartment
  Owners of Diamond Head Sands.

        15.    At the hearing to consider confirmation of the

  foreclosure sale, or at further hearing as the court may
  specify, the court shall hear proof of a claim of any other

  party, and shall determine the priority among the claims of

  the other parties besides Defendant Apt-320, as appropriate,
  and there shall be determined the amount of the fee of the

  Commissioner and the amount of the attorney's fees.

        16.    Defendant   Apt-320    and    all   other     parties     are
  hereby authorized to purchase at the foreclosure sale. The
  successful bidder at the foreclosure sale is to make a down

  payment to the Commissioner         in    an   amount    not    less   than    10%

  of   the    highest successful bid price, such payment to be in
  cash or by way of certified or cashier's check, provided that

  Defendant Apt-320 may satisfy the down payment by way of

  offset up to the amount of Defendant Apt-320's secured debts.
  At the court's discretion, the 10% down payment may be

  forfeited in full or in part if the purchaser shall fail to

  pay the balance of the purchase price as hereinafter set forth.
  In no event, shall the purchaser be liable for damages greater

  that the forfeiture of the 10% down payment.

        17.    The balance of the purchase price, including the
  down payment, shall be paid to the Commissioner upon

  approval and confirmation of the sale, provided that after all

  prior liens are satisfied,         Defendant     Apt-320       may   satisfy
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  the   balance   of   the purchase price by way of offset up to the

  amount of Defendant Apt- 320's secured debt in the event
  Defendant Apt-320 is the purchaser at the foreclosure sale.

        18.   Costs of conveyance, including conveyance tax, the

  costs of any escrow, securing possession of the Property, and
  recording of such conveyance and any orders of the court,

  shall be at the expense of such purchaser.

        19.   Third Party Defendant AOAO's rights pursuant to
  H.R.S. § 514B-146(b), (g), and (h) are not extinguished by Apt-

  320's Motion for Summary Judgment        and Interlocutory     Decree of
  Foreclosure Against     Plaintiffs     and   Cross-Claim    Against

  Defendant   Abigail Gaurino.



              DATED:   Honolulu, Hawaii, March 1, 2018.




                                       /s/ J. Michael Seabright
                                      J. Michael Seabright
                                      Chief United States District Judge




 Atooi Aloha, LLC v. Gaurino, et al., Civ No. 16-00347 JMS-RLP, Foreclosure
 Decree
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                                                     " ·.                  (c-·-,;
                                                                                     ;
                                                                                                            -----,


                             ....

        FIRST:

       ApattmcntNo. 320 (hereinafter called the "Apartment") ~omprisiiig a portion of 11DJAMOND
       HEAD SANDS", a condominium project (hereinafter cnlled the "Project") as described'in
       and established by Declaration of Horizontal Property Regime dated November 12, 1974,
       recorded in tho Bureau of Convcyanees of the State of Hawaii, in Liber .10334, Page 417, ·as
       the same may have been amended from time to time (hereafter called the "Declaration") as
       shown on the plans of the project recorded in said Bureau as Condominium Filed Plan No.
       392, as the same may have been amended from time to time (hereinafter called the
       "Condominium Map").·

          TOGETHER WITH an exclusive easement to use the parking stall having the same
       nUm.ber as the ApartIQ.ent as set forth in the Declaration, as amended, and as shown on the
       Condominium Map.

           TOGETHER WITH non-exclusive easements for ingress and egress and support of the
       Apartment through the ~mmon elements and for repair of th~ Apartment through all other
       apartments in the PrOJect and through the common elements.       •

       SECbND:

      ·AJi undivided 1.q37% interest in all co1nmon elements of the project including the land upon ·
       which said project is located as established for said ,Apartm'ent by the Declaration, as
       amended, or such other percentage interest as hereinafter established for said apartment by
       any amendments of the Declaration. as tenant in common with the other owners and tenants
      thereof.

      Being all of the prop~ conveyed by the following:

      Apartment Deed

      Grantor:              Atooi Aloha LLC, a Hawaii limited liability company
      Grantee:            · Abigail Lee Gaurino, a single woman, as solo and separate property,
                            as Tenant in Severalty
      Dated:                February 13, 2014
      Recorded:             Fdbruazy 20, 2014 in the Bureau of Conveyances of the State of
                            Haivail, as Document No. A-S 1640502
                           •••
                                                                     ,
                                                                            •
      The ~d(s) upon which said Condominium Project is located is described as follows:



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              All of that certain parcel of land (being a portion of the land described in and covered
       by Land Commission Award 8559-B1 Apana 32 to                  w.c.·
                                                               Lunalilo) situate, lying and being·
       on the west side of Kan:aina Avenue, at Kapahulu, Honolulu, City and County of HonQlulu,
       State of Hawaii, ~eing PARCEL B, and thus bounded and described as per survey prepared
       byMasaru Tsugawa, Registered Professional Land Surveyor, ~ated Scptember24, 1971, to-
       wit:       ·                                       .

           Beginning at a pip~· on the northeast comer of this parcel of l~d, being also on· the
       westerly boundary of"'I{anaina Avenue, the coordinates of which referred to Govemment
       Surv.ey Triangulation Station "LBAlll" being 3,~51.92 feet north and 522.54 feet west and
       running by azimuths me~ured cloc~se from true South:

       ·1.     10°      l6     30"   409.69          fcetalongthewestcrlys.ideofKanainaAvenuetoan
                                                     iron pin {found)~.

       2.      90°     36'           110~00          feetalongtheremainderofLan dCommission Award
                                                     8SS9-B, Apana 32 to Wm•.e. Lunalilo to a pipe;

       3.              16'     30" 1OS .00           feet along the remainder ofLand COinJllission Award
                                                     8559-B, Apana 32 to Wm. C. Lunalilo to an iron pin
                                                     (found);                  ·

       4.      90°     361            9S.S2          feet along Leahi Avenue Subdivision (File Plap. No.
                                                     613) to an aaow "->'~;

      5.      190°     16'    301'   SIS.24          feet along Govemment Land - Waikiki Elementary
                                                ..   School, to a pipe;
                                                                 .                   '              .
      6.      270°     45'           ·205.43'        feet along remainder ~f Land 'Commission Award
                                                     8SS9-B, Apana 32 to Wm. C. Lunalilo, to the point
                                                     of beginning and eontaining an area of2.134 acres, ·
                                                     more or less.               ·
             "rOGBTIIBR WITH an easement for ingress and egr~s purPoses over and across Parcel
      A-1, described in Corr~on Deed dated ,May 11, J972, recorded in ·the Bureau 'or
      Conveyances of the State of Hawaii in Liber 8299 at Page 460, which said easement is
      described as follows:   ·                              ·     · .

          Beginning at a pip~ on the northwest comer of this parcel of land, on th~ southerly side
      of Monsarrat Avenue, being also the northeasterly comet ofWaikild Elementary School site,
      the coordinates of which referred to Government Survey Triangulation Station 11LEAHI"
      being 3,362.06 feet north and 708.47 feet west and running by azimuths measured clockwise·
      from true south:

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                                                                                     '
                                                                                     '
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                                                    .   .                       re···-
                                                                                \




       I.                  45'             20.63                                   .     -
                                                     feet. on. southerly .side of Monsarrat .Avenue;
                                                                                                 .     .
               Thence alongremainderofR..P. 8124 and 8165. L.C. Aw. 8559-B, Apana32, to Wm.
      . C. Lunalilo, on a curve to the left with a radius of l 0.00 feet the chord azimuth and distance
        being:                       ·                                             •
                                 ·.·
       2.    50°        30' 45"            12.92     feot; ·                        '
       3.    10°           16' 20"·       IO!l.75   feet along remainder of R.P. 8124 and 8165,
                                                    L.C. Aw. 8SS9-B, Apana32 to Wm. C. Lunalilo;

      4.     90°       45 1                12.17    feet along remainder of R.P. 8124 and 8165,
                                                    L:C. Aw. 8559-B, Apana32 to Wm. C.Lunalilo;

      S•.   190°        16' 30"           109.21    feet alqng government land (waildki Elementary
                                                    School), to the point of beginnhig .and
                                                    containing an area of 1,367 square feet, more          or
                                                    less.

         Excepting and reserving, therefrom, that certain parcel ofland conveyed to the City and
      County of Honolulu: by Rebma Hawaii Three, Inc.,. a Missouri coi:poration, by deed recorded
      August 4, 1977 a8 Liber 12361 Page 43 of Official Records, more particularly descn'bed as
      follows:                                                  ·

      Lot 2, ten (10.00) ft. wide road setbaek, being a portion ofl..Qts 2o 8!1d 21 of the Kapahulu
      Lots adjacent to Kap\"lani Park, being also a portion of Land Patents'lU24 and 8165, land
      Commission Award 8559-B, Apana 32 to William C. Luilalilo situate atKapahulu, Honolulu,
      OahU, Hawaii. •

           Beginning at the northeast comer of this parcel of l~d, on the present west side of
      Kmaina Avenue: the coordinates of said point o~ beghqllng referred tO governm.eiit survey
      triangulation station "Leahi" b'eing 3,251.92 feet north and 522.54 feet west, and running by
      aziumths measured ciocJCwise ti'om true south:

      I.. 10°        16' .       30"     409.69     feet ~long. the present west side of Kanaina
                                                    Avenue;                               ·

      2. 90°         36'                  f0.14     feet alongremaindeii ofLand Patents 8124 and
                                                    816S,, L. C. aw. 8559-B, Apana 32 to William C ..
                                                    Lunalilo;




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       . 3.    190°       16'       30"         409.71       feet along re~er.ofLand Patents 8124 and
                                                     ..      8165, L. C. aw. 8559.:.6, A)lalla 32 to William C .
                                  ·.·                        Lunalilo·t                  '
        4. 270°           45'                       l 0.14   feet along remainder of Land Patents 8124 and ·
                                                             8165, L. C.aw.  8SS9-B, Apana32 to William C.
                                                             Lunalilo, to ~e ,Point of beginning and
                                                             containing ap area of 4,096 square feet,· more or
                                                             ~~                              . .
        SUBJECT, HOWEVER, to the following:

        I.    Reseivation in fayor of the State of Hawaii of all mineral and metallic mines. ·

        2.    Basement(s) for the pwpose(s) shown below and rights incidental thereto as condemned
              by Final D_ecree of Condemnation,

              Circuit Court of the:        First Circuit Court
              Civil No.:                   s
              In favor of:                 City and County of Honofolu ·
              Pwpose:                      sewer easements
              Recorded:          .....     in the Bureau of Conveyances of the S1'te of Hawaii, Liber
                                          ' 3101,'Page 27      .        .
              Affects:                      land herein described
                                                                  .           .
       3.     Condominium Map No. 392, recorded in the Bureau of Conv~yances of the State of
              -Hawaii

       4.     Covenants, conditions and restrictions (deleting therefrom any restrictions indicating any
              preference, limitation or discrimination based on race, color,. religion, ~ex. handicap,
              familial sta~ or national origin) as set forth in the following:

              Declaration of Horizo~tal Property R.eghne of D~OND HEAD SANDS

              Dated:              November 12, 1974
              Recorded:           in the Bureau of Conveyances of the State of Hawaii, Liber 10334,
                                · Page 417

              The fo~egoing Declaration and/or By-Laws were amondcd by the following:

              Recorded:          in the Bureau .of Conveyances
                                                            •
                                                               of the State of Hawaii,
                                                                               Ill
                                                                                       Ll'ber l 0463,
                                ..":'age ~07    .                                       1l


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               Recorded:
                                .      .     .                                    '
                                'in the Bureau of Conveyances of the State of Hawaii, Liber 11O10,
                              · Page540 ·

               Recorded:        in 1he Bureau of Conveyances of the State of Hawaii, Liber 11493,
                               .Page263

              Recorded:         in the Bureau of Conveyances of the State of Hawaii, Book 15085,
                                Page £01

              Recorded:         in th~ Bureau of Conveyances of the State of Hawaii, Book 1508S,
                                Page lOS

              Recorded:        in the Bureau of Conveyances of the State of Hawaii1 Book 19958,
                               P~ge402                                                                   ·

              Recorded:        in the Bureau of Conveyandes of the State of Hawaii, Book 23568,
                               Pagc.418

              Note: Any recorded amendments to the Declaration of Horizontal Property Regime
              amending the as&~3DJl1~ ofp~king stalls to anCI from apartments dther than the specific
              apartment described herein, have been purposely omitted herefrom.

       S.     Basement(s) for the pmpose(s) shown below and rights iitcidcntal thereto as set forth in
              a document;

             Jn favor of:      Hawaiian Electric Company, Inc. ·
             Pu1pose:          granting an easement for electrical purposes
           · Recorded:         in the Bureau of Conveyances of the. State of Hawaii, Liber 11072,
                               Pagc261                                        .
             Affects:          lend ~erein described

       6.    Covenants, conditions and restrictions (deleting therefrom anyrcsmctions indicating any
             preference, limitation or discrimination based on race, color, religion, sex, handicap, .
             familial status or national origin) as set forth in the following:

             Apartment Deed

             Dated:         . July 13, 1976                 .
             Recorded:         in the Bureau of Conveyances of the State of Hawaii, in Llber 11631
                             ..::t i:'age 147             ·                  •
      7.     Terms, provisions and conditions as contained in the Original Apartment Deed and the .
             effect of any failure to comply with such terms, provisions and conditions.

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                                                                               •
                                                                               •
        8. Any and all ~ements encumbering the apanmenther~in mentioned. and/orqte common
           interest appbrte~t thereto, as created by or mentioned in said Declaration, as said
           Declaration may be amended from time to time in itccordance with the laws and/or in
           the Original Apartment Deed and/or as delineated on said Condominium Map.

        TOGETHER, ALSO, WITH all built-in furniture, attached eiistbig fixtures, built-in
        appliances, water heater, electrical and/or gas and plumbing fixtur~. attached carpetiiig,
        existing drapes, range, refrigerator, disposal, dishwashe~ washer, dryer and television cable
        situate on or used in connection with tho above demised property.

                                          END OF EXHIBIT "A"




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                           ·....                                              •
                            ·;
                                                                              '

        '.
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